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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


In re:                                               )       Case No. 05-03817-3F1
                                                     )
WINN-DIXIE STORES, INC., et al.,                     )       Chapter 11
                                                     )
Debtors.                                             )       Jointly Administered


                    NOTICE OF REJECTION OF UNEXPIRED LEASE


TO:      Pass Christian Village
         P.O. Box 1260
         Ridgeland, MS 39158

Re:      Winn-Dixie Store 1358, located in Pass Christian, MS
         Lease dated April 27, 1994, and any amendments, modifications or supplements relating
         to the lease (collectively, the “Lease”).


         PLEASE TAKE NOTICE that on September 8, 2005 the United States Bankruptcy

Court for the Middle District of Florida, Jacksonville (the “Bankruptcy Court”) entered an order

Granting the Debtors’ Motion (i) to Sell Leasehold Interests in Targeted Stores Free and Clear of

Liens, Claims and Interests and Exempt from Taxes, (ii) to Assume and Assign Leases, (iii) to

Reject Targeted Leases the Debtors are Unable to Sell, and (iv) Granting Related Relief (Docket

No. 3405) (the “Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order, the

Debtors provide notice of their intent to reject the Lease. Pursuant to the terms of the Order, the

Lease is deemed rejected effective on the later of (i) the tenth (10th) calendar day following the

service of the Rejection Notice; and (ii) the date on which Debtors have (a) vacated and

surrendered possession of the premises; and (b) delivered the keys to the leased premises to the
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affected landlord at the mall management office where the leased premises are located (the

“Rejection Date”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order, if you

hold a claim or claims against the Debtors arising from the rejection of the Lease, you must

submit a proof of claim for rejection damages, if at all, to Logan and Company, Inc. at 546

Valley Road, Upper Montclair, New Jersey 07043 within thirty (30) days following the

applicable Rejection Date, or be forever barred from asserting a claim for rejection damages.


                                                    WINN DIXIE STORES, INC, and its
                                                    Subsidiaries and affiliates as
                                                    Debtors and Debtors-In-Possession,

                                                    By its attorneys,


                                                    s/ Cynthia C. Jackson
                                                    Stephen D. Busey
                                                    James H. Post
                                                    Cynthia C. Jackson (FBN 498882)

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                                                    Co-Counsel for Debtors



Dated: October 5, 2005

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